                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 1 of 30 PageID 8
                                                                      2022-04679 / Court: 333
CertifiedDocumentNumber:100022708-Page1of1




                                                                                                                 EXHIBIT
                                                                                                                     A
              Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22            Page 2 of 30 PageID 9




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100022708 Total Pages: 1




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     HARRIS COUNTY, TEXAS




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                                                                       2022-04679 / Court: 333
CertifiedDocumentNumber:100022709-Page1of1
             Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22            Page 4 of 30 PageID 11




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100022709 Total Pages: 1




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     HARRIS COUNTY, TEXAS




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                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 5 of 30 PageID 12
                                                                       2022-04679 / Court: 333
CertifiedDocumentNumber:100022710-Page1of1
             Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22            Page 6 of 30 PageID 13




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


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                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 7 of 30 PageID 14
                                                                       2022-04679 / Court: 333
CertifiedDocumentNumber:100022711-Page1of1
             Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22            Page 8 of 30 PageID 15




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100022711 Total Pages: 1




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                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 9 of 30 PageID 16
                                                                       2022-04679 / Court: 333
CertifiedDocumentNumber:100022712-Page1of1
            Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22             Page 10 of 30 PageID 17




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100022712 Total Pages: 1




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                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 11 of 30 PageID 18
                                                                       2022-04679 / Court: 333
CertifiedDocumentNumber:100022713-Page1of1
            Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22             Page 12 of 30 PageID 19




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100022713 Total Pages: 1




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     HARRIS COUNTY, TEXAS




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                                                                                                                                                          2/9/2022 11:03 AM
                                                       Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22                  Page 13 of 30 Burgess
                                                                                                                                 Marilyn PageID       20Clerk Harris County
                                                                                                                                               - District
                                                                                                                                                      Envelope No. 61579176
                                                                                                                                                      By: MARCELLA WILES
                                                                                                                                                     Filed: 2/9/2022 11:03 AM

                                                                                          CAUSE NO. 2022-04679

                                                     ISMAEL MARTINEZ                                   §
                                                     PLAINTIFF                                         §
                                                                                                       §
                                                     VS.                                               §                       IN THE 333rd District Court
                                                                                                       §
                                                     HONEYWELL INTERNATIONAL, INC., ET AL                                           HARRIS COUNTY, TX
                                                                                                       §
                                                     DEFENDANT
                                                                                                       §
                                                                                                       §
                                                                                                       §
                                                                                                       §

                                                                                           RETURN OF SERVICE


                                                     ON Tuesday, February 8, 2022 AT 8:56 AM
                                                     CITATION, PLAINTIFF'S ORIGINAL PETITION for service on HONEYWELL INTERNATIONAL INC (A
                                                     FOREIGN CORPORATION) C/O REGISTERED AGENT, CORPORATION SERVICE COMPANY D/B/A CSC-
                                                     LAWYERS INCORPORATING SERVICE COMPANY came to hand.

                                                     ON Tuesday, February 8, 2022 AT 3:25 PM, I, Adriana Nicole Adam, PERSONALLY
                                                     DELIVERED THE ABOVE-NAMED DOCUMENTS TO: HONEYWELL INTERNATIONAL INC (A
                                                     FOREIGN CORPORATION) C/O REGISTERED AGENT, CORPORATION SERVICE COMPANY D/B/A CSC-
                                                     LAWYERS INCORPORATING SERVICE COMPANY, by delivering to Evie Lichtenwalter, 211 E 7TH
                                                     STREET, SUITE 620, AUSTIN, TRAVIS COUNTY, TX 78701.

                                                     My name is Adriana Nicole Adam. My address is 1201 Louisiana, Suite 370, Houston, TX 77002. I
                                                     am a private process server certified by the Texas Judicial Branch Certification Commission (PSC
                                                     17714, expires 10/31/2023). My e-mail address is info@easy-serve.com. My date of birth is
                                                     3/30/1992. I am in all ways competent to make this statement, and this statement is based on
                                                     personal knowledge. I am not a party to this case and have no interest in its outcome. I declare
                                                     under penalty of perjury that the foregoing is true and correct.

                                                     Executed in TRAVIS COUNTY, TX on Tuesday, February 8, 2022.

                                                     /S/ Adriana Nicole Adam
CertifiedDocumentNumber:100289132-Page1of2




                                                     Ismael Martinez - SERVICE REQUEST

                                                     Doc ID: 291827_1
                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 14 of 30 PageID 21
CertifiedDocumentNumber:100289132-Page2of2
            Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22             Page 15 of 30 PageID 22




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100289132 Total Pages: 2




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     HARRIS COUNTY, TEXAS




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                                                                                                                                                          2/9/2022 11:04 AM
                                                       Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22                  Page 16 of 30 Burgess
                                                                                                                                 Marilyn PageID       23Clerk Harris County
                                                                                                                                               - District
                                                                                                                                                      Envelope No. 61579205
                                                                                                                                                      By: MARCELLA WILES
                                                                                                                                                     Filed: 2/9/2022 11:04 AM

                                                                                          CAUSE NO. 2022-04679

                                                     ISMAEL MARTINEZ                                   §
                                                     PLAINTIFF                                         §
                                                                                                       §
                                                     VS.                                               §                       IN THE 333rd District Court
                                                                                                       §
                                                     HONEYWELL INTERNATIONAL, INC., ET AL                                           HARRIS COUNTY, TX
                                                                                                       §
                                                     DEFENDANT
                                                                                                       §
                                                                                                       §
                                                                                                       §
                                                                                                       §

                                                                                           RETURN OF SERVICE


                                                     ON Tuesday, February 8, 2022 AT 8:57 AM
                                                     CITATION, PLAINTIFF'S ORIGINAL PETITION for service on HONEYWELL BUILDING SOLUTIONS SES
                                                     CORPORATION (A FOREIGN CORPORATION) C/O REGISTERED AGENT CORPORATION SERVICE
                                                     COMPANY D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY came to hand.

                                                     ON Tuesday, February 8, 2022 AT 3:25 PM, I, Adriana Nicole Adam, PERSONALLY
                                                     DELIVERED THE ABOVE-NAMED DOCUMENTS TO: HONEYWELL BUILDING SOLUTIONS SES
                                                     CORPORATION (A FOREIGN CORPORATION) C/O REGISTERED AGENT CORPORATION SERVICE
                                                     COMPANY D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY, by delivering to Evie
                                                     Lichtenwalter, 211 E 7TH STREET, SUITE 620, AUSTIN, TRAVIS COUNTY, TX 78701.

                                                     My name is Adriana Nicole Adam. My address is 1201 Louisiana, Suite 370, Houston, TX 77002. I
                                                     am a private process server certified by the Texas Judicial Branch Certification Commission (PSC
                                                     17714, expires 10/31/2023). My e-mail address is info@easy-serve.com. My date of birth is
                                                     3/30/1992. I am in all ways competent to make this statement, and this statement is based on
                                                     personal knowledge. I am not a party to this case and have no interest in its outcome. I declare
                                                     under penalty of perjury that the foregoing is true and correct.

                                                     Executed in TRAVIS COUNTY, TX on Tuesday, February 8, 2022.

                                                     /S/ Adriana Nicole Adam
CertifiedDocumentNumber:100289280-Page1of2




                                                     Ismael Martinez - SERVICE REQUEST

                                                     Doc ID: 291827_2
                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 17 of 30 PageID 24
CertifiedDocumentNumber:100289280-Page2of2
            Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22             Page 18 of 30 PageID 25




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100289280 Total Pages: 2




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     HARRIS COUNTY, TEXAS




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                                                                                                                                                             2/9/2022 11:04 AM
                                                       Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22                    Page 19 of 30 Burgess
                                                                                                                                   Marilyn PageID       26Clerk Harris County
                                                                                                                                                 - District
                                                                                                                                                        Envelope No. 61579267
                                                                                                                                                        By: MARCELLA WILES
                                                                                                                                                       Filed: 2/9/2022 11:04 AM

                                                                                           CAUSE NO. 2022-04679

                                                     ISMAEL MARTINEZ                                     §
                                                     PLAINTIFF                                           §
                                                                                                         §
                                                     VS.                                                 §                       IN THE 333rd District Court
                                                                                                         §
                                                     HONEYWELL INTERNATIONAL, INC., ET AL                                             HARRIS COUNTY, TX
                                                                                                         §
                                                     DEFENDANT
                                                                                                         §
                                                                                                         §
                                                                                                         §
                                                                                                         §

                                                                                             RETURN OF SERVICE


                                                     ON Tuesday, February 8, 2022 AT 9:04 AM
                                                     CITATION, PLAINTIFF'S ORIGINAL PETITION for service on ENEL X NORTH AMERICA INC (A
                                                     FOREIGN CORPORATION) C/O REGISTERED AGENT, COGENCY GLOBAL INC came to hand.

                                                     ON Tuesday, February 8, 2022 AT 2:40 PM, I, Don Anderson, PERSONALLY DELIVERED
                                                     THE ABOVE-NAMED DOCUMENTS TO: ENEL X NORTH AMERICA INC (A FOREIGN CORPORATION)
                                                     C/O REGISTERED AGENT, COGENCY GLOBAL INC, by delivering to Rodney Waller operations
                                                     manager, 1601 ELM STREET, SUITE. 4360, DALLAS, DALLAS COUNTY, TX 75201.

                                                     My name is Don Anderson. My address is 1900 Brown, BALCH SPRINGS, TX 75180. I am a private
                                                     process server certified by the Texas Judicial Branch Certification Commission (PSC 4232, expires
                                                     8/31/2022). My e-mail address is info@easy-serve.com. My date of birth is 7/14/1956. I am in all
                                                     ways competent to make this statement, and this statement is based on personal knowledge. I am
                                                     not a party to this case and have no interest in its outcome. I declare under penalty of perjury that
                                                     the foregoing is true and correct.

                                                     Executed in DALLAS COUNTY, TX on Tuesday, February 8, 2022.

                                                     /S/ Don Anderson
CertifiedDocumentNumber:100289655-Page1of2




                                                     Ismael Martinez - SERVICE REQUEST

                                                     Doc ID: 291827_4
                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 20 of 30 PageID 27
CertifiedDocumentNumber:100289655-Page2of2
            Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22             Page 21 of 30 PageID 28




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100289655 Total Pages: 2




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     HARRIS COUNTY, TEXAS




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                                                                                                                                                             2/9/2022 11:04 AM
                                                       Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22                    Page 22 of 30 Burgess
                                                                                                                                   Marilyn PageID       29Clerk Harris County
                                                                                                                                                 - District
                                                                                                                                                        Envelope No. 61579226
                                                                                                                                                        By: MARCELLA WILES
                                                                                                                                                       Filed: 2/9/2022 11:04 AM

                                                                                           CAUSE NO. 2022-04679

                                                     ISMAEL MARTINEZ                                     §
                                                     PLAINTIFF                                           §
                                                                                                         §
                                                     VS.                                                 §                       IN THE 333rd District Court
                                                                                                         §
                                                     HONEYWELL INTERNATIONAL, INC., ET AL                                             HARRIS COUNTY, TX
                                                                                                         §
                                                     DEFENDANT
                                                                                                         §
                                                                                                         §
                                                                                                         §
                                                                                                         §

                                                                                             RETURN OF SERVICE


                                                     ON Tuesday, February 8, 2022 AT 8:59 AM
                                                     CITATION, PLAINTIFF'S ORIGINAL PETITION for service on ENEL NORTH AMERICA INC (A FOREIGN
                                                     CORPORATION) C/O REGISTERED AGENT COGENCY GLOBAL INC came to hand.

                                                     ON Tuesday, February 8, 2022 AT 2:40 PM, I, Don Anderson, PERSONALLY DELIVERED
                                                     THE ABOVE-NAMED DOCUMENTS TO: ENEL NORTH AMERICA INC (A FOREIGN CORPORATION)
                                                     C/O REGISTERED AGENT COGENCY GLOBAL INC, by delivering to Rodney Waller operations
                                                     manager, 1601 ELM STREET, SUITE.4360, DALLAS, DALLAS COUNTY, TX 75201.

                                                     My name is Don Anderson. My address is 1900 Brown, BALCH SPRINGS, TX 75180. I am a private
                                                     process server certified by the Texas Judicial Branch Certification Commission (PSC 4232, expires
                                                     8/31/2022). My e-mail address is info@easy-serve.com. My date of birth is 7/14/1956. I am in all
                                                     ways competent to make this statement, and this statement is based on personal knowledge. I am
                                                     not a party to this case and have no interest in its outcome. I declare under penalty of perjury that
                                                     the foregoing is true and correct.

                                                     Executed in DALLAS COUNTY, TX on Tuesday, February 8, 2022.

                                                     /S/ Don Anderson
CertifiedDocumentNumber:100289997-Page1of2




                                                     Ismael Martinez - SERVICE REQUEST

                                                     Doc ID: 291827_3
                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 23 of 30 PageID 30
CertifiedDocumentNumber:100289997-Page2of2
            Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22             Page 24 of 30 PageID 31




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100289997 Total Pages: 2




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     HARRIS COUNTY, TEXAS




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                                                       Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22                  Page 25 of 30 Burgess
                                                                                                                                 Marilyn PageID       32Clerk Harris County
                                                                                                                                               - District
                                                                                                                                                      Envelope No. 61579305
                                                                                                                                                      By: MARCELLA WILES
                                                                                                                                                     Filed: 2/9/2022 11:05 AM

                                                                                          CAUSE NO. 2022-04679

                                                     ISMAEL MARTINEZ                                   §
                                                     PLAINTIFF                                         §
                                                                                                       §
                                                     VS.                                               §                       IN THE 333rd District Court
                                                                                                       §
                                                     HONEYWELL INTERNATIONAL, INC., ET AL                                           HARRIS COUNTY, TX
                                                                                                       §
                                                     DEFENDANT
                                                                                                       §
                                                                                                       §
                                                                                                       §
                                                                                                       §

                                                                                           RETURN OF SERVICE


                                                     ON Tuesday, February 8, 2022 AT 9:07 AM
                                                     CITATION, PLAINTIFF'S ORIGINAL PETITION for service on WANZEK CONSTRUCTION INC (A
                                                     FOREIGN CORPORATION) C/O REGISTERED AGENT, CORPORATION SERVICE COMPANY D/B/A CSC-
                                                     LAWYERS INCORPORATING SERVICE COMPANY came to hand.

                                                     ON Tuesday, February 8, 2022 AT 3:25 PM, I, Adriana Nicole Adam, PERSONALLY
                                                     DELIVERED THE ABOVE-NAMED DOCUMENTS TO: WANZEK CONSTRUCTION INC (A FOREIGN
                                                     CORPORATION) C/O REGISTERED AGENT, CORPORATION SERVICE COMPANY D/B/A CSC-LAWYERS
                                                     INCORPORATING SERVICE COMPANY, by delivering to Evie Lichtenwalter, 211 E 7TH STREET, SUITE
                                                     620, AUSTIN, TRAVIS COUNTY, TX 78701.

                                                     My name is Adriana Nicole Adam. My address is 1201 Louisiana, Suite 370, Houston, TX 77002. I
                                                     am a private process server certified by the Texas Judicial Branch Certification Commission (PSC
                                                     17714, expires 10/31/2023). My e-mail address is info@easy-serve.com. My date of birth is
                                                     3/30/1992. I am in all ways competent to make this statement, and this statement is based on
                                                     personal knowledge. I am not a party to this case and have no interest in its outcome. I declare
                                                     under penalty of perjury that the foregoing is true and correct.

                                                     Executed in TRAVIS COUNTY, TX on Tuesday, February 8, 2022.

                                                     /S/ Adriana Nicole Adam
CertifiedDocumentNumber:100290246-Page1of2




                                                     Ismael Martinez - SERVICE REQUEST

                                                     Doc ID: 291827_5
                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 26 of 30 PageID 33
CertifiedDocumentNumber:100290246-Page2of2
            Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22             Page 27 of 30 PageID 34




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100290246 Total Pages: 2




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     HARRIS COUNTY, TEXAS




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                                                                                                                                                          2/9/2022 11:05 AM
                                                       Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22                  Page 28 of 30 Burgess
                                                                                                                                 Marilyn PageID       35Clerk Harris County
                                                                                                                                               - District
                                                                                                                                                      Envelope No. 61579335
                                                                                                                                                      By: MARCELLA WILES
                                                                                                                                                     Filed: 2/9/2022 11:05 AM

                                                                                          CAUSE NO. 2022-04679

                                                     ISMAEL MARTINEZ                                   §
                                                     PLAINTIFF                                         §
                                                                                                       §
                                                     VS.                                               §                       IN THE 333rd District Court
                                                                                                       §
                                                     HONEYWELL INTERNATIONAL, INC., ET AL                                           HARRIS COUNTY, TX
                                                                                                       §
                                                     DEFENDANT
                                                                                                       §
                                                                                                       §
                                                                                                       §
                                                                                                       §

                                                                                           RETURN OF SERVICE


                                                     ON Tuesday, February 8, 2022 AT 9:08 AM
                                                     CITATION, PLAINTIFF'S ORIGINAL PETITION for service on HONEYWELL SAFETY PRODUCTS USA
                                                     INC (A FOREIGN CORPORATION) C/O REGISTERED AGENT, CORPORATION SERVICE COMPANY
                                                     D/B/A CSC-LAWYERS INCORPORATING SERVICE COMPANY came to hand.

                                                     ON Tuesday, February 8, 2022 AT 3:25 PM, I, Adriana Nicole Adam, PERSONALLY
                                                     DELIVERED THE ABOVE-NAMED DOCUMENTS TO: HONEYWELL SAFETY PRODUCTS USA INC (A
                                                     FOREIGN CORPORATION) C/O REGISTERED AGENT, CORPORATION SERVICE COMPANY D/B/A CSC-
                                                     LAWYERS INCORPORATING SERVICE COMPANY, by delivering to Evie Lichtenwalter, 211 E 7TH
                                                     STREET, SUITE. 620, AUSTIN, TRAVIS COUNTY, TX 78701.

                                                     My name is Adriana Nicole Adam. My address is 1201 Louisiana, Suite 370, Houston, TX 77002. I
                                                     am a private process server certified by the Texas Judicial Branch Certification Commission (PSC
                                                     17714, expires 10/31/2023). My e-mail address is info@easy-serve.com. My date of birth is
                                                     3/30/1992. I am in all ways competent to make this statement, and this statement is based on
                                                     personal knowledge. I am not a party to this case and have no interest in its outcome. I declare
                                                     under penalty of perjury that the foregoing is true and correct.

                                                     Executed in TRAVIS COUNTY, TX on Tuesday, February 8, 2022.

                                                     /S/ Adriana Nicole Adam
CertifiedDocumentNumber:100290382-Page1of2




                                                     Ismael Martinez - SERVICE REQUEST

                                                     Doc ID: 291827_6
                                                     Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22   Page 29 of 30 PageID 36
CertifiedDocumentNumber:100290382-Page2of2
            Case 1:23-cv-00024-C Document 1-2 Filed 03/04/22             Page 30 of 30 PageID 37




     I, Marilyn Burgess, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 15, 2022


     Certified Document Number:        100290382 Total Pages: 2




     Marilyn Burgess, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




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